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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

          v.                                                     DECISION AND ORDER
                                                                    12-CR-183S
RENEE BRITTON,

                            Defendant.




          1.   On January 15, 2013 the Defendant entered into a written plea agreement

(Docket No. 144) and pled guilty to Count 44 of the Indictment (Docket No. 1) charging a

violation of Title 18 U.S.C. § 1343 (wire fraud).

          2.   On January 15, 2013, the Honorable Leslie G. Foschio, United

States Magistrate Judge, filed a Report and Recommendation (Docket No. 146)

recommending that Defendant’s plea of guilty be accepted and the Defendant adjudicated

guilty.

          3.   This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1) and Local Rule 59(b).

          4.   This Court has carefully reviewed de novo Judge Foschio’s January 15,

2013, Report and Recommendation, the plea agreement, the indictment, and the

applicable law. Upon due consideration, this Court finds no legal or factual error in Judge

Foschio’s Report and Recommendation, and will accept Judge Foschio’s recommendation

that Defendant’s plea of guilty be accepted and that the Defendant be adjudicated guilty

as charged.
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      IT HEREBY IS ORDERED, that this Court accepts Judge Foschio’s January 15,

2013, Report and Recommendation (Docket No. 146)             in its entirety, including the

authorities cited and the reasons given therein.

      FURTHER, that the plea of guilty of Defendant Renee Britton is accepted, and she

is now adjudged guilty of Title 18 U.S.C. § 1343.

      SO ORDERED.


Dated: February 5, 2013
       Buffalo, New York


                                                       s/William M. Skretny
                                                     WILLIAM M. SKRETNY
                                                           Chief Judge
                                                    United States District Court




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